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                     EXHIBIT C
 Case 2:19-cv-10027-GAD-APP ECF No. 168-4, PageID.3045 Filed 07/10/23 Page 2 of 3
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                                                                    plaintiff did not suffer from a serious impairment of body
                    2002 WL 522817                                  function. We agree.
      Only the Westlaw citation is currently available.
                                                                    Some factors to consider when determining whether an
            UNPUBLISHED OPINION. CHECK                              impairment is “serious” are the extent of the injury, the
            COURT RULES BEFORE CITING.                              treatment required, the duration of disability, the extent of
                                                                    residual impairment, and the prognosis for eventual recovery.
                Court of Appeals of Michigan.                       Miller v. Purcell, 246 Mich.App 244, 248; 631 NW2d 760
                                                                    (2001). Conflicting medical expert testimony was presented
         Tracy PAYNE, Plaintiff–Appellant,                          regarding the nature and severity of plaintiff's injuries.
                         v.                                         Supporting the jury's verdict was Dr. Femminineo's testimony
                                                                    that he found no pathology in plaintiff and Dr. Siatczynski's
              Jeffrey GILL and Noreen
                                                                    testimony that after physical therapy plaintiff's opinion was
           Peace, Defendants–Appellees.                             that her knees were ninety and eighty percent recovered.
                                                                    Dr. Siatczynski believed that plaintiff's prognosis was fair to
                          No. 224873.                               good.
                                 |
                          April 5, 2002.                            Additionally, plaintiff received no treatment at the hospital
                                                                    following the accident, except for a Motrin prescription,
Before: K.F. KELLY, P.J., and HOOD and DOCTOROFF, JJ.               and her treatment in the years since has consisted of
                                                                    two prescriptions for physical therapy and chiropractic
                                                                    adjustments. Plaintiff missed only two days of work and
                                                                    continued to work full-time with only minor accommodations
UNPUBLISHED
                                                                    immediately following the accident. Although plaintiff
PER CURIAM.                                                         contends that she is limited in some recreational activities
                                                                    and yard work, overall her lifestyle does not appear to
 *1 Plaintiff appeals as of right from a judgment of no cause       have substantially changed. Therefore, there was sufficient
of action. We affirm.                                               evidence to support the jury's verdict, and the trial court did
                                                                    not abuse its discretion in denying plaintiff's motion for new
Plaintiff argues that the jury's verdict of no cause of             trial.
action is against the great weight of the evidence. Plaintiff
contends that the expert testimony presented as well as             Plaintiff next argues that the court erred in excluding the word
plaintiff's testimony clearly establish that she suffered a         “drunk” immediately preceding “driver” from Dr. Sandra L.
serious impairment of body function. We disagree.                   Frazho's and plaintiff's testimony when referring to defendant
                                                                    Gill. Plaintiff contends that because defendants did not object
Plaintiff's argument that the verdict was against the great         to the use of the word “drunk” in Dr. Frazho's testimony at
weight of the evidence was raised in a motion for new trial,        her deposition, the issue was waived. We disagree.
which the trial court denied. We review a trial court's grant
or denial of a motion for new trial for an abuse of discretion.      *2 An evidentiary ruling is reviewed on appeal for an abuse
People v. Daoust, 228 Mich.App 1, 16; 577 NW2d 179                  of discretion. People v. Layher, 464 Mich. 756, 761; 631
(1998). An abuse of discretion exists when the trial court's        NW2d 281 (2001). Defendants did not waive their right to
denial of the motion was manifestly against the clear weight        object to this testimony by not raising the objection at Dr.
of the evidence. Id.                                                Frazho's deposition. A party does not waive its objection
                                                                    to the admissibility of deposition evidence by waiting until
The trial court's determination that a verdict is not against the   trial to assert it. Bonelli v. Volkswagen, 166 Mich.App 483,
great weight of the evidence is given substantial deference.        504; 421 NW2d 213 (1988). Admissibility challenges can be
Morinelli v Provident Life & Accident Co, 242 Mich.App 255,         adequately disposed of only by an exercise of the trial judge's
261; 617 NW2d 777 (2000). Here, the trial court found that          discretion. Willerick v. Hanshalli, 136 Mich.App 484, 490;
there was evidentiary support for the jury's determination that



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                                                                       To be relevant, evidence must bear on a fact of consequence to
356 NW2d 36 (1984). Further, none of the court rules which
                                                                       the case. MRE 401. The only questions submitted to the jury
plaintiff cites support her contention.
                                                                       were whether plaintiff suffered a serious impairment of body
                                                                       function and if so, what were her damages. Plaintiff presents
Plaintiff next contends that Dr. Frazho's testimony
                                                                       no argument as to how defendant Gill's characterization as
characterizing defendant Gill as a “drunk” driver was part of a
                                                                       a “drunk” driver was probative of whether plaintiff suffered
medical history and therefore admissible under MRE 803(4).
                                                                       a serious impairment of body function. Rather, whether
Again, we disagree. To be admissible under the rule, the
                                                                       Gill was drunk related solely to the liability issue. Because
statement must be reasonably necessary for medical treatment
                                                                       defendants admitted liability, there was no need for the jury
or diagnosis. Merrow v. Bofferding, 458 Mich. 617, 629–630;
                                                                       to hear the testimony. The testimony was not relevant to the
581 NW2d 696 (1998); Bradbury v. Ford Motor Co, 123
                                                                       nature and extent of plaintiff's injuries and would only serve
Mich.App 179, 187; 333 NW2d 214 (1983). In the instant
                                                                       to appeal to the jury's prejudices.
case, the trial court held that the fact plaintiff was allegedly hit
by a “drunk” driver was not germane to plaintiff's diagnosis
                                                                       Plaintiff also argues that this testimony was relevant to
or treatment. We agree. Pertinent to both plaintiff's medical
                                                                       plaintiff's damages. However, this argument is moot. The
treatment and diagnosis was the fact that she was hit by a
                                                                       jury's verdict of no cause of action was not against the great
driver. Whether the driver was drunk at the time is relevant to
                                                                       weight of the evidence; thus, there is no damage issue to
the question of negligence, but not to either plaintiff's medical
                                                                       address. Therefore, the trial court did not abuse its discretion
treatment or diagnosis.
                                                                       in excluding all references to defendant Gill as a “drunk”
                                                                       driver.
Last, plaintiff contends that the fact that she was hit by a
“drunk” driver was relevant to the case and deletion of the
                                                                       *3 Affirmed.
word deprived plaintiff of her right to fully testify as to her
damages. The trial court excluded the testimony, reasoning
that it was irrelevant to the case because defendants admitted         All Citations
liability and the prejudicial effect of the word substantially
outweighed its probative value.                                        Not Reported in N.W.2d, 2002 WL 522817



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